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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
-------------------------------------------------------   X
JANE DOE, LUKE LOE, RICHARD ROE,                          :
and MARY MOE, individually and on behalf                  :      18-cv-09936 (LGS)
of all others similarly situated,                         :
                                                          :
                  Plaintiffs,                             :
                                                          :
v.                                                        :
                                                          :
THE TRUMP CORPORATION, DONALD J.                          :
TRUMP, in his personal capacity, DONALD                   :
TRUMP, JR., ERIC TRUMP, and IVANKA                        :
TRUMP,                                                    :
                                                          :
                  Defendants.
                                                          ;
                                                          :
-------------------------------------------------------   X

                       ACN OPPORTUNITY, LLC’S NOTICE OF APPEAL

         Notice is hereby given that non-party ACN Opportunity, LLC (“ACN”) appeals to the

United States Court of Appeals for the Second Circuit from the Order signed by the Honorable

Lorna G. Schofield of this Court on April 9, 2020 (ECF No. 232), and from any and all of the

Court’s rulings adverse to ACN incorporated in, antecedent to, or ancillary to such Order.



Dated: New York, New York                                 SQUIRE PATTON BOGGS (US) LLP
       April 16, 2020
                                                           /s/ Stephanie E. Niehaus
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